                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                                   No. 1:06-cr-53


    UNITED STATES OF AMERICA,
                  Plaintiff,
    v.
                                                   MOTION TO WITHDRAW
    JAHMAL GREEN,                                  DEFENDANT’S PRO SE MOTION TO
                  Defendant.                       FOR FIRST STEP ACT SECTION 404
                                                   RELIEF, WITHOUT PREJUDICE

                                                   MOTION TO CANCEL BRIEFING
                                                   SCHEDULE

         COMES NOW counsel, on behalf of Defendant, Jahmal Green, and moves to withdraw

his pending pro se motion for First Step Act Section 404 relief, without prejudice, and to cancel

the existing briefing schedule in this case.

         1.    On January 11, 2019, Mr. Green filed a pro se motion for First Step Act § 404

relief. Dkt. 68. On November 18, 2019, he requested counsel be appointed to assist him in

pursuing relief. Dkt. 69. On June 1, 2020, the Court appointed the Federal Public Defender’s

office to assist Mr. Green with his request for Section 404 relief.1 Dkt. 71. On June 30, 2020,

the Court entered a briefing schedule, with Mr. Green’s opening brief deadline set for August 28,

2020. Dkt. 93.

         2.    To be eligible for First Step Act § 404 relief, Mr. Green must have committed a

“covered offense,” defined by § 404(a) as “a violation of a Federal criminal statute, the statutory




1 The same Order granted the FPD’s request to be appointed to represent Mr. Green for
purposes of pursuing a Motion for a Compassionate Release sentence reduction. That matter
was briefed separately, and on July 10, 2020, the Court denied Mr. Green’s motion. Dkt. 95.
penalties for which were modified by section 2 or 3 of the Fair Sentencing Act of 2010 . . . that

was committed before August 3, 2010.”

        3.      The government maintains that Mr. Green is not eligible to be considered for a

Section 404 sentence reduction because he is serving a mandatory life sentence under 21 U.S.C.

§§ 841(a)(1), (b)(1)(A), (b)(1)(C), and 860(a). Put another way, his sentence resulted, not

because he was charged with some threshold quantity of crack cocaine, but because he was

convicted under 21 U.S.C. § 860(a), following two prior felony drug offenses. See 21 U.S.C. §

841(b)(1)(A) (2005) (requiring a mandatory life sentence when “any person commits a violation

of this subparagraph or of section . . . 860 . . . of this title after 2 or more prior convictions for a

felony drug offense have become final”).

        4.      The only federal decision that appears to have addressed the question of eligibility

in this situation is in United States v. Samuels, wherein the Honorable Judge Linda Reade found

a similarly situated defendant ineligible for Section 404 relief, because he had not committed a

“covered offense.” See N.D. Case No. 2:06-cr-1020, Dkt. 134. Mr. Samuels has appealed

Judge Reade’s decision to the Eighth Circuit Court of Appeals. See id., Dkt. 136–138; 8th Cir.

Case No. 20-2403. Because eligibility was the sole basis for Judge Reade’s decision, it appears

probable the Court of Appeals will, in the very near future, squarely address the question of

whether defendants with two prior felony drug offenses and a § 860(a) conviction have

committed a “covered offense” within the meaning of Section 404(a). The ruling will likely be

dispositive on the question of Mr. Green’s eligibility for Section 404 relief.

        5.      After consultation with counsel, Mr. Green believes it is in his best interest not to

pursue First Step Act Section 404 relief at this time. At a minimum, he wishes to await the

Eighth Circuit’s decision in the Samuels case, so that he may discuss the decision with counsel
and assess at that time whether a non-frivolous argument in favor of eligibility can be asserted.2

        6.     Mr. Green requests that the existing briefing schedule be canceled, and that his

pending pro se motion for relief be deemed withdrawn, without prejudice to his ability to pursue

Section 404 relief in the future, should he and assigned counsel determine that circumstances

warrant it.

        7.     The government does not resist the instant motion.

        For the reasons stated herein, Mr. Green asks the Court to grant the requested relief.


                                                 /s/ Nova D. Janssen
                                              Nova D. Janssen, Asst. Federal Defender
                                              FEDERAL PUBLIC DEFENDER’S OFFICE
                                              400 Locust Street, Suite 340
                                              Des Moines, Iowa 50309-2353
                                              PHONE: (515) 309-9610
                                              FAX: (515) 309-9625
                                              E-MAIL: nova_janssen@fd.org
                                              ATTORNEY FOR DEFENDANT


                                      CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2020, I electronically filed this document with the Clerk
of Court using the ECF system which will serve it on the appropriate parties.

                                               /s/Mindy Guynn



2  Mr. Green has been in custody for the instant offense since May 6, 2005 – a period of
approximately 171 months. Assuming he is both eligible for Section 404 relief and granted a
sentence reduction to the present-day statutory mandatory minimum of 300 months, he would
likely have many years left to serve on his sentence before discharge.
        A defendant can be considered for First Step Act Section 404 relief only one time. See §
404(c) (“No court shall entertain a motion made under [§ 404] to reduce a sentence if . . . a
previous motion made under this section to reduce the sentence was . . . denied after a complete
review of the motion on the merits.”). There is no deadline, however, by which a Section 404
motion must be made.
